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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Luis Jimenez
                                     Plaintiff,
v.                                                    Case No.: 1:22−cv−03834
                                                      Honorable Franklin U. Valderrama
Social Firestarter LLC, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 26, 2022:


        MINUTE entry before the Honorable Franklin U. Valderrama: On or before
10/03/2022 the parties shall file a joint initial status report. A template for the Joint Initial
Status Report, setting forth the information required, may be found at
http://www.ilnd.uscourts.gov/Judges.aspx by clicking on Judge Valderrama's name and
then again on the link entitled 'Joint Initial Status Report. Plaintiff must serve this Minute
Entry on all other parties. If the defendant(s) has not been served with process by that
date, plaintiff's counsel is instructed to file an individual status report indicating the status
of service of process by the same deadline. The parties are further ordered to review all of
Judge Valderrama's standing orders and the information available on his webpage. Any
nongovernmental corporate party that qualifies under the Rules is reminded of the
requirement to file a disclosure statement under Federal Rule of Civil Procedure 7.1/N.D.
Ill. Local Rule 3.2. Mailed notice (axc).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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web site at www.ilnd.uscourts.gov.
